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A 0 245B (Rev 12/03) Sheet 1 -Judgment in a Criminal Case


                                UNl TED S TA TES DISTRICT COURT
                                                        MIDDLE DISTRICT OF FLORIDA
                                                             TAMPA DIVISION



UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE

                                                                 CASE NUMBER: 8:05-cr-191-T-30EA.J
                                                                 USM NUMBER: 42953-018
VS.


RAYMOND L. DEVRIES
                                                                 Defendant's Attorney: Jeffrey I. Reisman, cja.

THE DEFENDANT:

-
X pleaded guilty to count(s) ONE (1) and TWELVE (12) of the Indictment.
- pleaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION                         NATURE OF OFFENSE                                    OFFENSE ENDED               COUNT

18 U.S.C. 5 371                         Conspiracy to Commit Bank Fraud                      February, 2005              One

18 U.S.C. $1344                         Bank Fraud                                           October 15, 2004            Twelve

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count(s)
-
X Count(s) THIRTEEN (13) through FIFTY (50) of the Indictment are dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                   Date of Imposition of Sentence: December 8, 2005




                                                                                   DATE: December        -     ,2005
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A 0 245B (Rev 12/03) Sheet 2 - Imprisonment
Defendant:          RAYMOND L. DEVRIES                                                                     Judgment - Page 2 of 6
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                                                              IMPRISONMENT

          After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C.
$9 3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of TWENTY-SEVEN (27) MONTHS as to Counts One and Twelve of the Indictment, both
terms to run concurrently with each other.



-
X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at a correctional
institution near San Antonio, Texas, if possible.



X The defendant is remanded to the custody of the United States Marshal.
   The defendant shall surrender to the United States Marshal for this district.

         - at -a.m./p.m.     on -.
         - as notified by the United States Marshal.

-The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
         - before 2 p.m. on -.
         - as notified by the United States Marshal.
         - as notified by the Probation or Pretrial Services Office.



                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                   to                                           at

                                                                       , with a certified copy of this judgment.



                                                                                        United States Marshal

                                                                       By:

                                                                       Deputy Marshal
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A 0 245B (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:           RAYMOND L. DEVRIES                                                                            Judgment - Page 3 of 6
Case No. :           8:05-cr- 191-T-30EAJ
                                                            SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a tern1 of FIVE (5) YEARS. Three
(3) years as to Count One of the Indictment and five (5) years as to Count Twelve, both terms to run concurrently with each
other.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours o f release
from the custody of the Bureau of Prisons.

T h e defendant shall not commit another federal, state, o r local crime.
T h e defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

          The defendant, having been convicted of a qualifying felony, shall cooperate in the collection of D N A as directed by the
          probation officer.

            If this judgment imposes a fine o r a restitution it is a condition of supervised release that the defendant pay in accordance with
            the Schedule of Payments sheet of this judgment.

            The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
            conditions on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
            the defendant shall not leave the.judicial district without the permission ofthe court or probation officer:

            the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
            month:

            the defendant shall ansner truthfully all inquiries by the probation ofliccr and follow the instructions of the probation officer;

            the defendant shall support his or her dependents and meet othcr family responsibilities:

            the defendant shall work regularly at a lawful occupation, unless escusecl by the probation officer for schooling. training. or other
            acceptable reasons;

            the defendant shall notify the probation officer at least ten days prior to any change in residence or employment:

            the defendant shall refrain from excessive use of alcohol and shall not purchase. possess, use, distribute. or administer any controlled
            substance or any paraphernalia related to any controlled substanccs. escept as prescribed by a physician:

            the defendant shall not frequent places where controlled substances art: illegally sold. used, distributed, or administered;

            the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation ofliccr:

            the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;

            the defendant shall notify the probation oflicer within seventy-two hours of being arrested or questioned by a law enforcement officer;

            the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court;

            as directed by the probation officer. the defendant shall notify third partics of risks that may be occasioned by the defendant's criminal record
            or personal history or characteristics and shall permit the probation ofliccr to make such notifications and to confirm the defendant's
            compliance with such notification requirement.
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A 0 245B (Rev. 12/03) Sheet 3C - Supervised Release

Defendant:           RAYMOND L. DEVRIES                                                                 Judgment - Page 4 of 6
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                                              SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also comply with the following additional conditions of supervised release:


-
X         The defendant shall participate, as directed by the Probation Officer, in a program (outpatient andlor inpatient) for treatment
          of narcotic addiction or drug or alcohol dependency. This program may include testing for the detection of substance use or
          abuse. Further, the defendant shall be required to contribute to the costs of services for such treatment not to exceed an
          amount determined reasonable by the Probation Officer's Sliding Scale for Substance Abuse Treatment Services.


-
X         The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. Based on the probation officer's
          determination that additional drug urinalysis is necessary, the Court authorizes random drug testing not to exceed 104 tests
          per year.
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 A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

 Defendant:           RAYMOND L. DEVRIES                                                                Judgment - Page 5 of 6
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                                                 CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                Assessment                            -
                                                                      Fine                      Total Restitution

           Totals:              $200.00                               Waived                    $117,652.55


 -         The determination of restitution is deferred until -.               An Amended Judgment in a Criminal Case ( A 0 245C) will
           be entered after such determination.
 -
 X         The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment. each payee shall receive an approximately proportioned payment. unless
           specified otherwise in the priority order or ercenta e payment column below. However. pursuant to 18 U.S.C. fj
           3664(i). all nonfederal victims must be paifbefore h e United States.
                                                                                                                Priority Order or
                                                       *Total                     Amount of                     Percentage of
 Name of Payee                                       Amount of Loss            Restitution Ordered              Payment
 SunTrust Bank                                                                 $15,285.14
 c/o SunTrust Restitution Coordinator
 VA-RIC-9394
 P.O. Box 26150
 Richmond, Virginia 23260-6 150
 Bank of America c/o Denise Smith
 4 109 Gandy Boulevard
 Tampa, Florida 3361 1
 Citrus & Chemical Bank c/o Susan Jennis
 600 North Broadway
 Bartow, Florida 33830
 Regions Bank c/o Michael Smoak
 12200 U.S. Highway 19 North
 Hudson, Florida 34667
                                Totals:              L                         $   117,652.55

 -         Restitution amount ordered pursuant to plea agreement $
 -         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
           before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. ji 3612(f). All of the payment options on Sheet
           6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
 -         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          the interest requirement is waived for the - fine          - restitution

         -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 1 10, 1 10A, and 113A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
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A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments
Defendant:         RAYMOND L. DEVRIES                                                                 Judgment - Page 6of 6
Case No.:          8:05-cr-191-T-30EAJ

                                                  SCHEDULE OF PAYMENTS


Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                   Lump sum payment of $ 200.00 is due immediately, balance due
                            -not later than                    , 01

                            -in accordance - C , - D, - E or - F below; or
                   Payment to begin i~nmediately(may be combined with                   C , -D, o r -F below); or
                  Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $             over a
                  period of          (e.g., months or years), to commence             days (e.g., 30 or 6 0 days) after the
                  date of this judgment; or
                  Payment in equal                (e.g., weekly, monthly, quarterly) installn~entsof $              over a
                  period of
                               . (e.g., months or years) to commence                    (e.g. 30 or 60 days) after release
                  from in~prisonmentto a term of supervision; or
                  Payment during the term of supervised release will commence within                         (e.g.. 3 0 o r
                  60 days) after release from imprisonn~ent.The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that tirne, or
                  Special instructions regarding the payment of criminal monetary enalties: While in Bureau of Prison's
                                                                                             P
                  custody, the defendant shall either (1) pay at least $25 quarterly i the defendant has a non-Unicor job or
                  (2) pa at least 50 % of his or her monthly earnings if the defendant has a Unicor job. U on release from
                        d                                                                                              'I'
                  custo y, the defendant shall ay restitution at the rate of $200 per month. At any time uring the course
                                                   R
                  of post-release supervision t e government, or the defendant, may notify the Court of a material change
                  in the defendant's ability to pay, and the Court may adjust the payment schedule accordingly.

Unless the court has expressly ordered otherwise, if this judgment imposes a period of im                           payment of criminal
monetary penalties is due during im risonment. All criminal monetary penalties, except                                made through the
                                        C
Federal Bureau of Prisons' I~mmate inancial Responsibility Program, are made to the
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed
-
X        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corres ondin payee, if appropriate: Jane M. Cook, 8:05-cr-191-T-30EAJ, in the amount of
                                 f       fl
$18.707.13 (joint and severa ly) to t e respective vict~mslisted above.

         The defendant shall pay the cost of prosecution.
         The defendant shall pay the following court cost(s):

X        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States immediately and voluntaril any and all assets and property,
                                                                                                     i
or portions thereof. subject to forfeiture, which are in the possession or control of t e defendant or the defendant's
nominees.
The Court grants the Government's motion for a forfeiture money judg~nent. Order attached.


Payments shall be applied in the following order: ( 1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution, (6) fine interest (7) penal~ies,and (8) costs, including cost of prosecution and court costs.
